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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                   CASE NO. 4:18-cr-00339

UNITED STATES OF AMERICA

vs.

DUSTIN CURRY,
CLINT CARR,
HASSAN BARNES, and
FRASIEL HUGHEY,
                             Defendants.
                                                 /
         UNITED STATES’ MOTION FOR AUTHORIZATION TO RELEASE
      FOUR TELEPHONE RECORDINGS SUBJECT TO PRIVILEGE ASSERTION

        The United States of America, by and through its assigned Filter Team, 1 respectfully

submits this Motion seeking the Court’s authorization to release four telephone recordings (the

“Recordings”) to the Prosecution Team in this matter.

        The Recordings ostensibly contain Potentially Protected Material (“PPM”) 2 that belonged

to a series of now-defunct Texas companies Defendant Carr owned. Beginning in 2018, the State




1
  The Filter Team attorney in this case is DOJ Trial Attorney Timothy J. Coley. The Filter Team
attorney is assigned to the U.S. Department of Justice, Criminal Division, Fraud Section’s Special
Matters Unit and has a separate reporting and supervisory chain from the Prosecution Team in this
case. Further, the Filter Team attorney is supported by paralegals and other professional staff who
are not part of the Prosecution Team. The Filter Team attorney and his supporting staff only
conduct the filter review and are not involved in the investigation or proceedings related to the
above-captioned matter.
2
  “Potentially Protected Material” is defined as material that could potentially garner the
protections of the attorney client privilege, work product doctrine, or other legally recognized
privileges.
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of Texas administratively dissolved Carr’s companies, known collectively as “CC Pharmacy,” 3

and the Texas Secretary of State deemed the company’s charters forfeited. See Exhibit A (CC

Pharmacy, LLC Corporate Filings), Exhibit B (CC Pharmacy 2, LLC Corporate Filings), Exhibit

C (CC Pharmacy 3, LLC Corporate Filings).4           CC Pharmacy further has not conducted any

legitimate business in several years, nor has it taken any action following its dissolution to revive

operations. See infra pp. 3-4.

       Accordingly, as a result of its dissolution and cessation of operations, CC Pharmacy no

longer possesses a valid claim to any attorney-client privilege or other protections that the

company may have once held when it was a going concern. See United States v. Walters, No.

2:19-CR-51-KS-MTP, 2020 WL 1934803, at *2 (S.D. Miss. Apr. 21, 2020) (“A dissolved

corporation does not have the same concerns as a deceased natural person and therefore has less

need for the privilege after dissolution is complete.”) (quoting City of Rialto v. U.S. Dept. of

Defense, 492 F. Supp. 2d 1193, 1197 (C.D. Cal. 2007). For these reasons, and those set forth more

fully below, the Government respectfully seeks the Court’s approval to release the Recordings to

the Prosecution Team.5


3
 “CC Pharmacy” refers to CC Pharmacy, LLC, and its affiliate companies, CC Pharmacy 2, LLC
and CC Pharmacy 3, LLC. These entities were all owned by Defendant Carr, and, as set forth
below, are dissolved and defunct under the laws of the State of Texas.
4
  Exhibits A-C contain true and correct copies of records obtained directly from the websites
maintained by the Texas Comptroller of Public Accounts and the Texas Secretary of State, as of
October 4, 2021. See Taxable Entry Search, Texas Comptroller of Public Accounts,
https://mycpa.cpa.state.tx.us/coa/;     SOSDirect,    Texas      Secretary      of      State,
https://www.sos.state.tx.us/corp/sosda/index.shtml.
5
  On June 24, 2021, the Filter Team produced the four Recordings in its possession to counsel for
Defendants. Pursuant to Cr.L.R. 12.2, the Government has conferred with counsel for Defendants
Curry, Carr, Hughey, and Barnes, who are CC Pharmacy’s only known potential privilege
claimants. Defendants Curry, Barnes, and Hughey stated that they do not possess a privilege
interest in the Recordings; however, Defendant Carr claimed a privilege interest in the Recordings,
and he opposes the Government’s Motion.

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                                  FACTUAL BACKGROUND

       A.      CC Pharmacy’s Registration, Dissolution, and Cessation of
               Operations.

       Defendant Carr registered CC Pharmacy, LLC to conduct business in the State of Texas on

November 5, 2015; he registered its affiliate companies, CC Pharmacy 2, LLC and CC Pharmacy

3, LLC, on March 2, 2016 and November 22, 2016, respectively. See Exs. A-C at 2.6 While active

companies, CC Pharmacy operated registered retail pharmacies that distributed and dispensed

Schedule II-V controlled substances, including Oxycodone, Hydrocodone, and others. Indictment

[Dkt. No. 1] ¶¶ 11-14, 32. Defendant Carr owned CC Pharmacy, while Defendant Curry served

as Operations Manager, and Defendant Barnes served as the Pharmacist-in-Charge of the Houston

location. Id. ¶¶ 9-12.

       Beginning in October 2018, the State of Texas administratively dissolved CC Pharmacy

and its affiliate companies. First, the Texas Comptroller of Public Accounts “involuntarily ended”

the company’s right to transact business in the State of Texas for failure to pay franchise taxes.

Exs. A-C at 2. Then, the Texas Secretary of State deemed CC Pharmacy’s charters forfeited and

terminated the company’s rights to conduct business, as follows:




6
  The Government respectfully requests that the Court take judicial notice of the true and correct
copies of the records attached as exhibits to the Motion, which were obtained directly from the
State of Texas’s official governmental and regulatory databases, as well as public records
databases. See Swindol v. Aurora Flight Sciences Corp. 805 F.3d 516, 518 (5th Cir. 2015) (“We
conclude that the accuracy of these public records contained on the Mississippi Secretary of State’s
and the Virginia State Corporation Commission’s websites cannot be reasonably questioned.”)
(citing Coleman v. Detke, 409 F.3d 665,667 (5th Cir. 2005)); see also Victory Medical Center
Beaumont, L.P. v. Connecticut General Life Insurance Company, 2018 WL 3467915 at *3-4 (E.D.
Tex. July 17, 2018) (finding that Texas Secretary of State filings have previously been considered
in connection with Rule 12(c) motions).

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          On October 19, 2018, after determining that CC Pharmacy, LLC had failed to revive
           its forfeited privileges within 120 days of its suspension by the Texas Comptroller of
           Public Accounts, the Texas Secretary of State’s office issued a forfeiture notice for the
           company’s charter, certificate or registration.

          On October 19, 2018, after determining that CC Pharmacy 2, LLC had failed to revive
           its forfeited privileges within 120 days of its suspension by the Texas Comptroller of
           Public Accounts, the Texas Secretary of State’s office issued a forfeiture notice for the
           company’s charter, certificate or registration.

          On February 29, 2020, after determining that CC Pharmacy 3, LLC had failed to revive
           its forfeited privileges within 120 days of its suspension by the Texas Comptroller of
           Public Accounts, the Texas Secretary of State’s office issued a forfeiture notice for the
           company’s charter, certificate or registration.

Exs. A-C. CC Pharmacy did not file any records thereafter to revive its registrations or submit any

further filings with the Texas Secretary of State following its dissolution. See Exhibit D (CC

Pharmacy Corporate Filing Record).7

       Nor does CC Pharmacy possess any active pharmacy licenses in the State of Texas.

According to the “Pharmacy Search” function on the Texas State Board of Pharmacy’s website,

CC Pharmacy, LLC’s pharmacy license expired as of March 31, 2018, and an attempted inspection

of the pharmacy as early as September 29, 2016 failed due “no answer at listed phone #.” See

Exhibit E (CC Pharmacy, LLC Licensing Information).8 Similarly, CC Pharmacy 3’s pharmacy

license expired as of March 2019. See Exhibit F (CC Pharmacy 3, LLC Licensing Information).

The “Pharmacy Search” function on the Texas State Board of Pharmacy’s website returns no

results for CC Pharmacy 2, LLC. See Exhibit G (CC Pharmacy 2, LLC Licensing Search).




7
  Exhibit D contains true and correct copies of records obtained directly from the website
maintained by the Texas Secretary of State, as of October 1, 2021. SOSDirect, Texas Secretary of
State, https://www.sos.state.tx.us/corp/sosda/index.shtml (last visited October 1, 2021).
8
 Exhibits E-G contain true and correct copies of records obtained directly from the website
maintained by the Texas State Board of Pharmacy, as of October 1, 2021. See Pharmacy Search,
Texas State Board of Pharmacy, https://www.pharmacy.texas.gov/dbsearch/phy_search.asp.

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       Moreover, an Experian commercial credit score search indicates that CC Pharmacy and its

affiliated entities do not possess any active account balances, debts, open lines of credit, revenues,

or any other indication that they remain going concerns. See Exs. H-J at 4-7 (Experian Commercial

Credit Scores reports for CC Pharmacy companies). A Westlaw search of all state and federal

jurisdictions for “cc pharmacy” likewise shows no active or recent legal matters. See Ex. K

(Westlaw search for “cc pharmacy”).9

       B.      The Government Obtains Possession of the Recordings.

       Beginning in 2017, after learning of potential controlled substances violations at the

company, the pharmacist at CC Pharmacy 2, LLC approached law enforcement and began

recording his telephone conversations with Defendants and others affiliated with CC Pharmacy.

After being approached by law enforcement, a second CC Pharmacy employee began recording

his conversations with Defendants. Both individuals then provided these call recordings to the

Government, including three of the four Recordings. In addition, on November 13, 2017, agents

with the U.S. Drug Enforcement Administration executed search warrants at all three CC

Pharmacy locations, seizing numerous documents, files, computers, and electronic devices,

including one which yielded the fourth Recording. After listening to the first few seconds of the

Recordings and immediately recognizing the voice of CC Pharmacy’s outside attorney, Don

Lewis, but not hearing the substance of the conversations, the Government immediately segregated

the Recordings as PPM.




9
  Exhibits H-K contain true and correct copies of records obtained from public databases
displaying Experian Commercial Credit Score reports and WestLaw queries, using the following
keyword search terms: “CC Pharmacy, LLC” (Ex. H), “CC Pharmacy 2, LLC” (Ex. I), “CC
Pharmacy 3, LLC” (Ex. J), “cc pharmacy” (Ex. K).

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        Thereafter, the Government instituted a Filter Team to review the seized materials,

including the Recordings and other PPM, to ensure that the Government Prosecution Team would

not have access to documents protected by the attorney-client privilege or other privileges or

protections.10 Combined, the Recordings span 41 minutes and 49 seconds, and they capture

conversations potentially containing or discussing legal advice from CC Pharmacy’s now-

deceased attorney Lewis in or about 2017.

                              APPLICABLE LEGAL STANDARDS

        The aim of the attorney-client privilege is “to encourage full and frank communication

between attorneys and their clients and thereby promote broader public interests in the observance

of law and administration of justice.” Upjohn v. United States, 449 U.S. 383, 389 (1981). But

because “the privilege has the effect of withholding relevant information from the fact-finder, it

applies only where necessary to achieve its purpose.” Fisher v. United States, 425 U.S. 391, 403

(1976). As the Fifth Circuit has recognized, “because the privilege is ‘an obstacle to truthseeking,’

it must ‘be construed narrowly to effectuate necessary consultation between legal advisors and

clients.’” In re Santa Fe Int’l Corp., 272 F.3d 705, 710 (5th Cir. 2001) (quoting In re LTV Sec.

Litig., 89 F.R.D. 595, 606 (N.D. Tex. 1981)); see also United States v. Robinson, 121 F.3d 971,

975 (5th Cir. 1997) (“[T]he privilege is to be construed narrowly to apply only where its

application would serve its purposes . . . .”).

        Courts long have recognized that a corporation may assert the attorney-client privilege.

Commodity Futures Trading Comm’n v. Weintraub, 471 U.S. 343, 348 (1985). But, unlike for a




10
  The Filter Team’s review of the search warrant material is ongoing, pursuant to which the Filter
Team previously has released certain non-PPM records to the Prosecution Team. The Government
may at a future point file a motion addressing the release of other material identified as PPM, as
necessary, on the basis that it is not protected from release.
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natural person, the weight of authority holds that when a corporation dissolves, any legal privilege

the company held dies with it. S.E.C. v. Carrillo Huettel LLP, 2015 WL 1610282, at *2 (S.D.N.Y.

Apr. 8, 2015) (collecting cases); see also Official Comm. of Admin. Claimants ex rel. LTV Steel

Co., Inc. v. Moran, 802 F. Supp. 2d 947, 949 (N.D. Ill. 2011) (weight of authority suggests

attorney-client privilege does not survive death of corporation); TAS Distrib. Co. v. Cummins Inc.,

No. 07-1141, 2009 WL 3255297, at *2 (C.D. Ill. Oct. 7, 2009) (“No real purpose would be served

by continuing the privilege after operations cease, as the corporation would no longer have any

goodwill or reputation to maintain.”); City of Rialto v. U.S. Dept. of Defense, 492 F. Supp. 2d

1193, 1197 (C.D. Cal. 2007) (“[A] dissolved corporation is not entitled to assert the attorney-client

privilege.”); Lewis v. United States, 2004 WL 3203121, at *5 (W.D. Tenn. Dec. 7, 2004) (“The

attorney-client privilege cannot be applied to a defunct corporation.”).

       “A dissolved corporation does not have the same concerns as a natural person and therefore

has less need for the privilege after dissolution is complete. As there are usually not assets left and

no directors, the protections of the attorney-client privilege are less meaningful to the typical

dissolved corporation.” City of Rialto, 492 F.Supp.2d at 1200. “Moreover, because the attorney-

client privilege has the effect of withholding relevant information from the factfinder, it should be

applied only when necessary to achieve its limited purpose of encouraging full and frank disclosure

by the client to his or her attorney.” Id. “The weight of federal authority supports a holding that

there is a presumption the attorney-client privilege is no longer viable after a business entity ceases

to function.” Walters, 2020 WL 1934803, at *2.

         Under Texas law, the Comptroller of Public Accounts may deem a company’s charter or

registration forfeited which fails to pay its franchise taxes, and it may terminate the company’s

rights to conduct business in the state. See Tex. Tax Code §§ 171.251, 171.2515. If the entity



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does not revive its forfeited privileges within 120 days of the forfeiture, the Texas Secretary of

State may then administratively forfeit the charter, certificate, or registry of the taxable entity. See

Tex. Tax Code §§ 171.309-171.310. A forfeiture in the State of Texas has the effect of revoking

or terminating an entity’s registration or certificate of formation. See Tex. Bus. Orgs. Code §

12.155. A corporation whose privileges are forfeited for failure to pay franchise tax “shall be

denied the right to sue or defend in a court of this state.” Tex. Tax Code § 171.252.

                                            ARGUMENT

I.     NO VALID PRIVILEGE INTEREST EXISTS OVER THE RECORDINGS
       BECAUSE THE PRIVILEGE HOLDER, CC PHARMACY, IS OFFICIALLY
       DISSOLVED WITH NO CONTINUING OPERATIONS

       No live privilege protects the Recordings from disclosure because CC Pharmacy, the

erstwhile privilege holder, is a dead company—both administratively and operationally. Courts

considering similar issues have agreed that “[a]bsent some compelling reason to the contrary, the

attorney-client privilege does not survive the death of the corporation.” See Walters, 2020 WL

1934803, at *2 (quoting TAS Distrib. Co., 2009 WL 3255297, at *2). Here, the State of Texas

administratively dissolved CC Pharmacy corporate entities, the company is otherwise defunct and

non-operational, and no compelling interest supports the revival of its privileges. Thus, it no longer

possesses valid attorney-client privileges.

       First, the State of Texas officially dissolved CC Pharmacy several years ago. Beginning

in October 2018, the Texas Comptroller of Public Accounts “involuntarily ended” the company’s

right to transact business in the State of Texas due to its failure to pay franchise taxes. Exs. A-C

at 2. Then, after the company failed to take corrective action to remedy the Comptroller’s

suspension, the Texas Secretary of State dissolved the entity, forfeiting the company’s charter,

certificate, or registration. Exs. A-C at 1. Accordingly, the company could not—and did not—



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operate legally under the laws of the State of Texas since at least October 2018 and February 2020

for one of its affiliates, CC Pharmacy 3, LLC. Id.

       Second, CC Pharmacy has not been operational for at least as long as its corporate

dissolution. The company did not submit any corporate filings to the Texas Secretary of State

following the dissolution described above, including any documents seeking to revive its forfeited

registrations. See Ex. D. Nor has the company had any active pharmacy licenses in the State of

Texas since at least March 2019 (see Ex. F)—and the “Pharmacy Search” function on the Texas

State Board of Pharmacy’s website returns no results whatsoever for CC Pharmacy 2, LLC (see

Ex. G). Indeed, the Texas State Board of Pharmacy’s records indicate that CC Pharmacy’s latest

inspection failed five years ago, in September 2016, because no one even answered the company’s

listed phone number. See Ex. E at 3. Further, commercial credit score reports through Experian

confirm that none of the CC Pharmacy entities possess any active account balances, debts, open

lines of credit, revenues, or any other indication that they are going concerns. See Exs. H-J at 4-7

(Experian Commercial Credit Scores for CC Pharmacy companies). 11 See United States v. Cole,

No 1:20-cr-424, Opinion and Order [Dkt. 84] at 6 (N.D. Ohio Oct. 29, 2021) (finding defunct

company could not assert attorney-client privilege in part because it “reported no revenue,

expenses, or assets”). A Westlaw search of all state and federal jurisdictions for “cc pharmacy”

likewise shows no active or recent legal matters. See Ex. K (Westlaw search for “cc pharmacy”).

       As a result of its forfeiture due to its failure to pay franchise taxes, CC Pharmacy is also

affirmatively “denied the right to sue or defend” under the laws of the State of Texas. Tex. Tax

Code § 171.252. Corporate entities are creatures of state law, and under the laws of Texas where




11
  The commercial credit score report for CC Pharmacy 3, LLC indicates a derogatory liability
amount of $415.00 in collections status that is beyond 24 months old. See Ex. J at 4, 7.
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CC Pharmacy was organized, the company no longer exists, nor may it defend itself in Texas

courts. See Burks v. Lasker, 441 U.S. 471, 478 (1979) (“Corporations are creatures of state law”);

Formcrete, Co. v. NuRock Const., LLC, No. 4:07CV290, 2007 WL 2746812, at *2 (E.D. Tex. Sept.

19, 2007) (“Corporations are the creatures of the law, and they can only exercise such powers as

are granted [to them] by the law of their creation.”) (internal citation omitted). Hence, CC

Pharmacy is defunct as a matter of fact and law.

        Third, even aside from its formal dissolution in the State of Texas—and the company’s

failure to maintain operations or a valid pharmacy license—no “compelling interest” would justify

the resurrection of the company’s privilege after the company itself had been abandoned for years.

This matter was indicted on June 19, 2018 for conduct directly relating to Defendants’ pharmacy-

related operations, namely their illegal distribution and dispensing of Schedule II-V controlled

substances. See Indictment [Dkt. No. 1] ¶¶ 21, 23-37. Even if the company continued to conduct

some unknown, illegitimate operations post-indictment—or post-dissolution and post-forfeiture—

there is no compelling interest in protecting the “goodwill or reputation” associated with that

activity. TAS Distrib. Co., 2009 WL 3255297, at *2.

II.     A FINDING THAT CC PHARMACY POSSESSES NO ACTIVE PRIVILEGE
        OVER THE RECORDINGS IS CONSISTENT WITH OTHER DECISIONS IN
        THIS CIRCUIT AND ELSEWHERE

        The United States District Court for the Southern District of Mississippi recently

encountered a similar issue in United States v. Walters, No. 2:19-CR-51, 2020 WL 1934803, at *2

(S.D. Miss. Apr. 21, 2020). There, the court considered a request by attorneys for two defunct

affiliated companies to quash a subpoena on the grounds of the former companies’ attorney-client

privilege. Id. at *1. The Walters court first surveyed other courts’ decisions, finding that “[n]o

real purpose would be served by continuing the privilege after operations cease” and that “[t]he



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weight of federal authority supports a holding that there is a presumption the attorney-client

privilege is no longer viable after a business entity ceases to function.” Id at *2 (collecting cases).

       The court then analyzed the status of the companies in question, which were both

administratively dissolved and non-operational. Id. The attorney seeking to invoke the privilege

argued that the companies may be able to resume conducting business; however, the court noted

that the determinative factor is the “practical business realities rather than technical legal status.”

Id. Upon finding that the companies did not presently conduct any business, the court concluded

that these “entities have ceased to function for purposes of determining whether the attorney-client

privilege is viable.” Id. (citing In re Fundamental Long Term Care, Inc., 2012 WL 4815321, at

*8-10 (Bankr. M.D. Fla. Oct. 9, 2012) (following dissolution of corporation “there is no one who

can assert or waive the attorney-client privilege” as no directors or management exist).

Accordingly, any attorney-client privilege they may have once had is no longer viable.

       Here too, the Court respectfully should conclude that CC Pharmacy no longer possesses

any valid privilege interests. Like the companies in Walters, CC Pharmacy is both administratively

dissolved and actually inoperative. Nothing in the State of Texas’s databases or elsewhere

suggests that CC Pharmacy is a going concern with legitimate operations (see supra pp. 3-5, Exs.

A-K), and as such, the Court should likewise conclude that the company has “ceased to function”

for privilege purposes. Walters, 2020 WL 1934803, at *2.

       As explained in Walters, no one may speak or assert privilege on behalf of a defunct

company. Id. (citing SEC v. Carrillo Huettel LLP, 2015 WL 1610282, at *2 (S.D.N.Y. Apr. 8,

2015); see also United States v. Cox, No. 8:14-CR-0140-T-23MAP, 2015 WL 13741738, at *3

(M.D. Fla. Oct. 7, 2015), report and recommendation adopted sub nom. United States v. Biddix,

No. 8:14-CR-140-T-23MAP, 2015 WL 9473949 (M.D. Fla. Dec. 29, 2015). Here, no one



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possesses authority to speak on behalf of CC Pharmacy, the former privilege-holder, because the

company is dead both on paper and in reality. Thus, the company has no active members, officers,

or directors that legally could assert privilege or otherwise speak on its behalf. In fact, the only

circumstance where courts have found that a privilege may in some cases survive a corporate

dissolution, is where the company is going through the wind-down process or some other legal

process like restructuring, where an individual is still legally authorized to speak on the privilege-

holder company’s behalf. But CC Pharmacy is not being wound down, nor being restructured, nor

being held in trust for the benefit of its creditors. It is simply gone. See Trading Technologies

Int’l, Inc. v. GL Consultants, Inc., 2012 WL 874322, at *4 (N.D. Ill. Mar. 14, 2012) (drawing

distinction between a “company that has ceased normal business operations but is still going

through the windup process,” which might be able to assert privilege, and a “completely defunct

company,” which cannot). Accordingly, neither Defendant Carr, nor any other party, may assert

privilege on behalf of a completely defunct company like CC Pharmacy.

          Finally, the Texas Tax Code affirmatively prevents CC Pharmacy from appearing in legal

matters in Texas due to its failure to pay the relevant franchise taxes. See Tex. Tax Code § 171.252

(providing that company whose corporate privileges are forfeited for failure to pay franchise tax

“shall be denied the right to sue or defend in a court of this state”). Hence, CC Pharmacy’s ability

to assert privilege in Texas courts expired with the company, along with the company’s privilege

itself.




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                                        CONCLUSION

       For the foregoing reasons, the United States of America, by and through its assigned Filter

Team, respectfully requests that the Court grant its instant Motion for Authorization to Release

Four Telephone Recordings Subject to Privilege Assertion.



This the 1st day of November, 2021
                                            Respectfully submitted,

                                            JENNIFER B. LOWERY
                                            ACTING U.S. ATTORNEY

                                            JOSEPH BEEMSTERBOER, ACTING CHIEF
                                            CRIMINAL DIVISION, FRAUD SECTION
                                            U.S. DEPARTMENT OF JUSTICE

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                               CERTIFICATE OF SERVICE
      I hereby certify that, on November 1, 2021, I filed the foregoing with the Clerk of the

Court using the CM/ECF system.


                                            /s/ Timothy J. Coley
                                            TIMOTHY J. COLEY

                                            Trial Attorney, Fraud Section
